                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
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UNITED STATES OF AMERICA,
                    Plaintiff.
                                                   Case No. 18-cr-138-pp
      v.
DESHON A. SMITH,
                  Defendant.
______________________________________________________________________________

ORDER DENYING DEFENDANT’S SECOND MOTION FOR COMPASSIONATE
                           RELEASE (DKT. NO. 61)
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      On May 15, 2020, the court received the defendant’s first motion for

compassionate release. Dkt. No. 49. The court obtained input from the

government and probation. On June 15, 2020, the court denied the

defendant’s motion. Dkt. No. 55. It concluded that he had not exhausted his

remedies by first asking the warden of his facility for release. Id. at 4-5. The

court also found no proof in the court record that the defendant ever had told

anyone he suffered from asthma (which the compassionate release motion

claimed he had). Id. at 6-7. The court noted that the defendant had been

infected with COVID-19 but had not become ill. Id. at 7. It noted that there

were fewer confirmed cases at the defendant’s facility than at others. Id.

Finally, the court found that the §3553(a) factors all weighed against the

defendant’s already severely-reduced sentence. Id. at 8.

      The defendant appealed the court’s ruling, dkt. no. 56, but on August 27,

2020, the Seventh Circuit dismissed the appeal as untimely, dkt. no. 60.

      Now the defendant has filed a second motion for compassionate release.

Dkt. No. 61. In this one, he states that on May 20, 2020, he filed a request for


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compassionate release with the warden of his institution, and that the warden

denied that request (although he does not provide the date). Id. at 3. He asserts

in this second motion that while he has survived COVID-19 once, he is “more

likely than not to not survive a second attack since his immune system is

damaged and the current novel ramifications are unfounded.” Id. at 4. He says

that he is “asthmatic and obese.” Id. He also claims to have bronchitis and

head injuries (which he says are documented). Id. at 5. He claims that the

medical records that verify these conditions are in “the district court file.” Id.

As for his release plan, he says he has a “verifiable cleaning service job.” Id. at

6. He provided no details about where he would live.

      The court will deny this second motion. The only thing that appears to

have changed since the defendant filed his first motion is that he says he now

has exhausted his remedies. He did not file any proof of that—no letter from

the warden denying his request for release. But the court will take the

defendant’s word for it that he asked the warden for release and was denied.

      The court already has addressed the defendant’s claim that he has

asthma. The court has no evidence to support that claim—he did not report

having asthma to the pretrial services officer who interviewed him for his bond

study in July 2018 or to the presentence writer, and the court has no prison

medical records for the defendant. The defendant did tell the pretrial services

officer that he’d suffered a punctured lung in a car accident earlier that

summer. He told the presentence writer that the punctured lung sometimes

gave him difficulty breathing and that he had a prescription for an Albuterol

inhaler. The court discussed in its prior order the CDC’s current guidance on

the relationship between asthma and COVID-19.




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      The defendant also told the pretrial services officer that he had

bronchitis. The court has no evidence that the defendant has been diagnosed

with chronic bronchitis.

      In this second motion, the defendant alleges that he is obese. The court

has no evidence of this—the defendant was not obese at the time of sentencing.

      The defendant remains incarcerated at FCI Milan in Michigan. As of the

date of this order, the BOP reports no active cases of the virus among inmates

and two active cases among staff (with eighty-eight inmates and fifty-five staff

recovered and three inmates having died). https://www.bop.gov/coronavirus/

(under “Full breakdown and additional details”). The defendant has a projected

release date of January 15, 2024 and will be eligible for pre-release home

confinement on July 15, 2023.

      Nothing in this second motion demonstrates “extraordinary and

compelling reasons” justifying compassionate release.

      The court DENIES the defendant’s second motion for compassionate

release. Dkt. No. 61.

      Dated in Milwaukee, Wisconsin this 6th day of November, 2020.

                                     BY THE COURT:


                                     ______________________________________
                                     HON. PAMELA PEPPER
                                     Chief United States District Judge




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